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                             UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF OREGON

                             PORTLAND DIVISION
OREGON JV LLC, a New York limited
liability company,                    Case No. 3:22-CV-00337-HZ

                           Plaintiff,              STIPULATION REGARDING
       v.                                          DISPOSITION OF DEFENDANTS’
                                                   RULE 12 MOTIONS and PLAINTIFF’S
ADVANCED INVESTMENT CORP. d/b/a                    MOTION TO FILE AN AMENDED
AIC, et al.,                                       COMPLAINT

                                    Defendants.
       Pursuant to the stipulation of counsel of record below, the parties request the Court enter

an Order as follows:

                1. Defendants pending Rule 12 Motions at Docket No. 14, and the joinder

                   motion at Docket No. 15, are hereby withdrawn;

                2. Plaintiff’s Motion to File a First Amended Complaint at Docket No. 22, is

                   unopposed by Defendants and should be granted; and

                3. Defendants reserve all rights under Rule 12 or otherwise to challenge the

                   claims in the First Amended Complaint, and no waiver of any motions or

                   defenses under Rule 12 or otherwise is intended by this stipulation.

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DEFENDANTS’ RULE 12 MOTIONS and PLAINTIFF’S                                                         SLINDE NELSON
MOTION TO FILE AN AMENDED COMPLAINT                                                        425 NW 10th Ave, Suite 200
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              4. Defendants shall have until September 23, 2022 to file their responses to the

                  First Amended Complaint.



       DATED: September 1, 2022.


SO STIPULATED:

SLINDE NELSON                                     GLEAVES SWEARINGEN LLP

By: /s/ Keith A. Pitt                             By:___/s/ Cassie K. Jones_____________
Keith A. Pitt, OSB No. 973725                     Cassie K. Jones, OSB No. 083806
Joseph M. Mabe, OSB No. 045286                    jones@gleaveslaw.com
joe@slindenelson.com                              Of Attorneys for Defendant CLS Investments,
Of Attorneys for Plaintiff                        LLC

THE SMITH FIRM, P.C.

 By:____/s/ David P. Smith________________
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Bayman, Eugene W. Gramzow, John V. K.
Fearing, Susan L. Baker, Emily R. Collins, Mark
Allen Ditgen, Linda Carol Ditgen, Stephen F.
Duffy, Amy S. LaGrander, Margie Nemcik-Cruz,
Jonny B. Watson, Michael A. Welt, Robert A.
Zoller, RH Ventures, LLC, Ervin Wood, J&D
OR Properties, LLC, Matthew David Freedman,
Carl M. Dutli, Margaret J. Brown Olson, John
M. Compton, Betty Compton, Kurt D. Connell,
Erin Ronnie Connell, Craig Alacano, Cynthia L.
Alacano, Vic Mitchell and Andrew Strickland



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                                CERTIFICATE OF SERVICE

       I hereby certify that I served the foregoing STIPULATION REGARDING

DISPOSITION OF DEFENDANTS’ RULE 12 MOTIONS and PLAINTIFF’S MOTION TO

FILE AN AMENDED COMPLAINT on:


        David P. Smith                                 Cassie K. Jones
        The Smith Firm, P.C.                           Gleaves Swearingen LLP
        1754 Willamette Falls Dr.                      PO Box 1147
        West Linn, OR 97068                            Eugene, OR 97440
        Of Attorneys for All Named Defendants          Of Attorneys for Defendant                     CLS
        (excluding CLS Invectments, LLC)               Investments, LLC


by the following indicated method(s):

       by faxing full, true, and correct copies thereof to said attorney to the fax number noted
       above, which is the last known fax number for said attorney, on the date set forth below.

       by emailing full, true, and correct copies thereof to said attorney to the email address noted
       above, which is the last known email address for said attorney, on the date set forth below.

       by notice of electronic filing using the CM/ECF system (LR 100.7(a)(2)).

       by causing full, true and correct copies thereof to be mailed to the attorney(s) at the
       attorney(s) last-known office address(es) listed above on the date set forth below.


DATED: September 1, 2022.                             SLINDE NELSON


                                                      By:      /s/ Keith A. Pitt
                                                            Keith A. Pitt, OSB No. 973725
                                                               Of Attorneys for Plaintiffs




Page 1 – CERTIFICATE OF SERVICE

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